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                                                            6      Attorneys for Plaintiffs

                                                            7
                                                                                             UNITED STATES DISTRICT COURT
                                                            8
                                                                                                      DISTRICT OF NEVADA
                                                            9
                                                           10    SHANE HARRIS, an individual; GARIAN
                                                                 CARTER, an individual; DENISE HADDIX, an
                                                           11    individual; individually and on behalf of all Case No: 2:14-cv-00244-RCJ-CWH
                                                                 others similarly situated,
                                                           12
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                                                                                        Plaintiffs,
                      (702) 384-3616 FAX: (702) 943-1936




                                                           13
                         2879 St. Rose Pkwy., Suite 200
                            Henderson, Nevada 89052




                                                                                  vs.                                    JOINT MOTION TO APPROVE
                                                           14
                                                                                                                               SETTLEMENT
                                                                 METLIFE AUTO & HOME INSURANCE
                                                           15    AGENCY, INC., a foreign corporation;
                                                                 METROPOLITAN             PROPERTY         &
                                                           16    CASUALTY INSURANCE, INC., a foreign
                                                                 corporation;     a    Nevada    corporation;
                                                           17    METROPOLITAN           LIFE   INSURANCE
                                                                 COMPANY, a foreign corporation; DOES I
                                                           18    through V, inclusive; and ROE corporations I
                                                                 through V, inclusive,
                                                           19
                                                                                        Defendants.
                                                           20
                                                           21             Plaintiffs Shane Harris, Garian Carter and Denise Haddix and Defendants MetLife Auto
                                                           22    & Home Insurance Agency, Inc., Metropolitan Property & Casualty Insurance, Inc., and
                                                           23    Metropolitan Life Insurance Company, by and through their respective counsel, (collectively
                                                           24    “the Parties”) have entered into confidential Settlement Agreements which include a release of
                                                           25    claims.1 The Parties, through their respective undersigned counsel, hereby request that the Court
                                                           26
                                                                 1
                                                                   Metropolitan Property and Casualty Insurance Company has been improperly named in the Complaint
                                                           27
                                                                 as Metropolitan Property & Casualty Insurance, Inc.
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                                                            1    enter an Order approving the Agreements and dismissing this matter in its entirety with
                                                            2    prejudice. As grounds for the Motion, the Parties jointly state the following:
                                                            3             1.      Defendants formerly employed Plaintiffs as, generally, “insurance adjusters” in
                                                            4    Henderson, Nevada. There were two types of adjusters, one were in the category called “ARC
                                                            5    Adjusters”. The other were categorized as “Casualty Adjusters”.
                                                            6             2.      Plaintiffs initiated this action as a collective action pursuant to 29 U.S.C. § 216(b)
                                                            7    on their behalf and on behalf of other, similarly situated employees.
                                                            8             3.      Plaintiffs, and those similarly situated, alleged they were improperly classified as
                                                            9    ”exempt” employees by Defendants and were thus deprived of overtime wages for all hours
                                                           10    worked in excess of forty (40) hours per week.
                                                           11             5.      Defendants deny they misclassified Plaintiffs and those similarly situated.
                                                           12    Nonetheless, the Parties have reached a settlement on behalf of those adjusters who have sought
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                                                           13    to join the action.
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                                                           14             6.      The parties have submitted under seal for in-camera review only copies of the
                                                           15    Settlement Agreements in this case. See Exhibit 1 and Exhibit 2 to Joint Motion to File
                                                           16    Documents Under Seal.
                                                           17             7.      While a settlement resolving an FLSA claim does not have to be approved by a
                                                           18    court in order to be effective and/or binding (see 29 U.S.C. Section 253(a); Fed. R. Civ. P. 41;
                                                           19    Martin v. Spring Break Productions, L.L.C, 688 F.3d 247 (5th Cir. 2012); Picerni v. Bilingual

                                                           20    SEIT & Preschool Inc., 25 F.Supp. 2d 368 (E.D.N.Y. 2013)), a number of courts have suggested
                                                           21    either that judicial approval is required or is a prudent act. See Artiaga v. Hutchins Drywall, Inc.,
                                                           22    2:06-cv-1177-KJD-LRL, 2011 U.S. Dist. LEXIS 84007 *3 (D. Nev. July 28, 2011). A court may
                                                           23    approve a settlement if the settlement reflects a “reasonable compromise” over the issues. Id.
                                                           24             8.      The named plaintiffs and their counsel have determined after careful examination
                                                           25    and due diligence that the settlements are fair, equitable, and in compliance with the policies of

                                                           26    the FLSA.
                                                           27
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                                                            1             9.      The Parties were represented by competent counsel with experience in this area of
                                                            2    law. Plaintiffs’ counsel, Andrew L. Rempfer, Esq., is an experienced employment law litigator,
                                                            3    and has represented thousands of claimants in FLSA actions. Defendants were represented by
                                                            4    Christopher A. Parlo, Esq., of Morgan Lewis & Bockius LLP, which has similarly represented
                                                            5    hundreds of clients in FLSA actions. The Parties believe, as noted by the joint submission of this
                                                            6    Motion, that the Plaintiffs’ FLSA claims have been settled fairly based upon the evidence, the
                                                            7    risks involved in trying to litigate this matter to seek a better or different resolution, and the delay
                                                            8    and expenditure of time and resources that would be inherent in continuing to litigate.
                                                            9             10.     The Parties jointly request that the Court review the Agreements and enter an
                                                           10    order approving the Agreements.
                                                           11             11.     The Parties further request that the Court, after approving the Agreements,
                                                           12    dismiss this matter with prejudice.
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                                                           13    DATED: December 5, 2014.
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                            Henderson, Nevada 89052




                                                           14    Respectfully Submitted By:                              Respectfully Submitted By:
                                                           15    COGBURN LAW OFFICES                                     MORGAN, LEWIS & BOCKIUS LLP
                                                           16
                                                           17    By:/s/ Andrew L. Rempfer, Esq.                          By: /s/ Christopher A. Parlo, Esq.
                                                           18    ANDREW L. REMPFER, ESQ.                                 CHRISTOPHER A. PARLO, ESQ.
                                                           19    JAMIE S. COGBURN, ESQ.                                  Attorneys for Defendants

                                                           20    Attorneys for Plaintiffs                                Pro Hac Vice
                                                           21                                                            PRINCE & KEATING
                                                           22
                                                           23                                                            By:/s/ Dennis Prince, Esq.
                                                           24                                                            DENNIS PRINCE, ESQ.
                                                           25                                                            Attorneys for Defendants

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